                                           Case 19-26937                  Doc 3     Filed 12/23/19            Page 1 of 2


 Fill in this information to identify your case:

 Debtor 1                 Mirna C. Monroy
                          First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         LoanCare LLC                                          Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of 4702 Cooper Lane Hyattsville,                             Reaffirmation Agreement.
    property       MD 20784 Prince Georges                                   Retain the property and [explain]:
    securing debt: County                                                   Debtor will retain collateral and continue
                                                                           making payments


    Creditor's         Specialized Loan Servicing/SLS                        Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of 4702 Cooper Lane Hyattsville,                             Reaffirmation Agreement.
    property       MD 20784 Prince Georges                                   Retain the property and [explain]:
    securing debt: County                                                   Debtor will retain collateral and continue
                                                                           making payments

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                              page 1

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                                           Case 19-26937               Doc 3       Filed 12/23/19          Page 2 of 2


 Debtor 1      Mirna C. Monroy                                                                       Case number (if known)


 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Mirna C. Monroy                                                          X
       Mirna C. Monroy                                                                  Signature of Debtor 2
       Signature of Debtor 1

       Date        December 23, 2019                                                Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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